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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-02527-GPG-KAS

  JANE DOE, a United States citizen, and Colorado resident,

        Plaintiff,

  v.

  ABDLCOMMUNITYFORUS.COM d/b/a ABDL Community, ABDL Community For All,
  and ABDL Community For Us, a business operating in the United States,
  JOHN ROE, owner and operator of ABDL COMMUNITYFORUS.com and a United
  States citizen of unknown domicile, and
  JANE ROES 1-2, employees or agents of JOHN ROE and ABDL
  COMMUNITYFORUS.COM,

       Defendants.
  _____________________________________________________________________

                              MINUTE ORDER
  _____________________________________________________________________
  ENTERED BY MAGISTRATE JUDGE KATHRYN A. STARNELLA

          This matter is before the Court on Plaintiff’s and non-party Flutterwave, Inc.’s
  Notice of Joint Stipulated Protective Order with Flutterwave, Inc., for Subpoena to
  Produce [#26] (the “Motion”). 1 Plaintiff and non-party Flutterwave, Inc. “have agreed to”
  a “joint stipulated protective order regarding the information to be produced” and filed a
  copy “for the court’s record.” See Motion [#26] at 1. Neither Plaintiff nor non-party
  Flutterwave seeks any relief from the Court; specifically, neither asks the Court to make
  the agreement an Order of the Court. Therefore, no Court action appears necessary.

         IT IS HEREBY ORDERED that the Clerk of Court is directed to terminate the gavel
  on the Motion [#26] because it does not request any relief from the Court.

        Dated: June 24, 2024




  1
   The Court construed the Notice [#26] as a motion and referred it to the undersigned. See
  Memorandum [#27].
